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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE

VLADEK FILLER,                                    )
                                                  )
     Plaintiff,                                   )
                                                  )
v.                                                )
                                                  )
HANCOCK COUNTY,                                   )
SHERIFF WILLIAM CLARK,                            )
WASHINGTON COUNTY,                                )           CASE NO. 1:15-cv-00048
SHERIFF DONNIE SMITH,                             )
TRAVIS WILLEY,                                    )
DAVID DENBOW,                                     )
MICHAEL CRABTREE,                                 )
GOULDSBORO,                                       )
GUY WYCOFF,                                       )
ELLSWORTH,                                        )
JOHN DELEO,                                       )
CHAD WILMOT,                                      )
PAUL CAVANAUGH,                                   )
STEPHEN MCFARLAND,                                )
MICHAEL POVICH,                                   )
CARLETTA BASSANO,                                 )
MARY KELLETT,                                     )
LINDA GLEASON,                                    )
                                                  )
     Defendants.                                  )

  DEFENDANTS TOWN OF GOULDSBORO, TOWN OF ELLSWORTH, DELEO AND
             WILMOT’S ANSWER TO AMENDED COMPLAINT

         NOW COME Defendants Town of Gouldsboro (“Gouldsboro”), Town of Ellsworth

(“Ellsworth”), Officer John DeLeo (“DeLeo”), and Officer Chad Wilmot (“Wilmot”, collectively

“Defendants”) and answer Plaintiff’s Amended Complaint as follows.

                                       NATURE OF ACTION

         1.       Paragraph 1 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 1 of the Complaint

are denied.
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       2.      Paragraph 2 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 2 of the Complaint

are denied.

       3.      Paragraph 3 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 3 of the Complaint

are denied.

       4.      Paragraph 4 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 4 of the Complaint

are denied.

       5.      Paragraph 5 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 5 of the Complaint

are denied.

       6.      Paragraph 6 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 6 of the Complaint

are denied.

       7.      Paragraph 7 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 7 of the Complaint

are denied.

       8.      Paragraph 8 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 8 of the Complaint

are denied.




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       9.      Paragraph 9 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 9 of the Complaint

are denied.

       10.     Paragraph 10 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 10 of the Complaint

are denied.

       11.     Paragraph 11 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 11 of the Complaint

are denied.

       12.     Paragraph 12 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 12 of the Complaint

are denied.

       13.     Paragraph 13 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 13 of the Complaint

are denied.

       14.     Paragraph 14 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 14 of the Complaint

are denied.

       15.     Paragraph 15 is an introductory paragraph that does not require responsive

pleading. To the extent a response is required, the allegations in paragraph 15 of the Complaint

are denied.




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                   II.    JURISDICTION, VENUE AND THE PARTIES

        16.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 16 of the Complaint and therefore deny the

same.

        17.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 17 of the Complaint and therefore deny the

same.

        18.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 18 of the Complaint and therefore deny the

same.

        19.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 19 of the Complaint and therefore deny the

same.

        20.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 20 of the Complaint and therefore deny the

same.

        21.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 21 of the Complaint and therefore deny the

same.

        22.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 22 of the Complaint and therefore deny the

same.

        23.    Defendants admit the allegations contained in Paragraph 23 of the Complaint.




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        24.      Defendants admit that Guy Wycoff was employed as the Chief of Police for the

Gouldsboro Police Department, but deny the remaining allegations contained in Paragraph 24 of

the Complaint.

        25.      Defendants admit that Ellsworth is a municipal corporation within Hancock

County and the State of Maine, but deny the remaining allegations contained in Paragraph 25 of

the Complaint.

        26.      Defendants admit that that DeLeo was employed as the Chief of Police of the

Ellsworth Police Department and that he is now retired, but deny the remaining allegations

contained in Paragraph 26 of the Complaint.

        27.      Defendants admit that Chad Wilmot is employed as a police officer with the

Ellsworth Police Department, but deny the remaining allegations contained in Paragraph 27 of

the Complaint.

        28.      Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 28 of the Complaint and therefore deny the

same.

        29.      Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 29 of the Complaint and therefore deny the

same.

        30.      Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 30 of the Complaint and therefore deny the

same.




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        31.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 31 of the Complaint and therefore deny the

same.

        32.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 32 of the Complaint and therefore deny the

same.

        33.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 33 of the Complaint and therefore deny the

same.

        34.    Paragraph 34 states a legal conclusion to which no response is required. To the

extent that Paragraph 34 includes factual allegations, Defendants deny the same.

        35.    Paragraph 35 states a legal conclusion to which no response is required. To the

extent that Paragraph 35 includes factual allegations, Defendants deny the same.

                                         III.   FACTS

                                     A. Factual Overview

        36.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 36 of the Complaint and therefore deny the

same.

        37.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 37 of the Complaint and therefore deny the

same.




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        38.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 38 of the Complaint and therefore deny the

same.

        39.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 39 of the Complaint and therefore deny the

same.

        40.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 40 of the Complaint and therefore deny the

same.

        41.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 41 of the Complaint and therefore deny the

same.

        42.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 42 of the Complaint and therefore deny the

same.

        43.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 43 of the Complaint and therefore deny the

same.

        44.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 44 of the Complaint and therefore deny the

same.




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        45.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 45 of the Complaint and therefore deny the

same.

        46.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 46 of the Complaint and therefore deny the

same.

        47.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 47 of the Complaint and therefore deny the

same.

        48.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 48 of the Complaint and therefore deny the

same.

        49.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 49 of the Complaint and therefore deny the

same.

        50.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 50 of the Complaint and therefore deny the

same.

        51.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 51 of the Complaint and therefore deny the

same.




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        52.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 52 of the Complaint and therefore deny the

same.

        53.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 53 of the Complaint and therefore deny the

same.

        54.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 54 of the Complaint and therefore deny the

same.

        55.    The allegations in Paragraph 55 of the Complaint concern another defendant to

this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

required, Defendants are without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 55 of the Complaint and therefore deny the same.

        56.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 56 of the Complaint and therefore deny the

same.

        57.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 57 of the Complaint and therefore deny the

same.

        58.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 58 of the Complaint and therefore deny the

same.




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         59.    The allegations in Paragraph 59 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 59 of the Complaint and therefore deny the same.

         60.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 61 of the Complaint and therefore deny the

 same.

         61.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 61 of the Complaint and therefore deny the

 same.

         62.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 62 of the Complaint and therefore deny the

 same.

         63.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 63 of the Complaint and therefore deny the

 same.

         64.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 64 of the Complaint and therefore deny the

 same.

         65.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 65 of the Complaint and therefore deny the

 same.




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         66.    The allegations in Paragraph 66 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 66 of the Complaint and therefore deny the same.

         67.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 67 of the Complaint and therefore deny the

 same.

         68.    The allegations in Paragraph 68 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 68 of the Complaint and therefore deny the same.

         69.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 69 of the Complaint and therefore deny the

 same.

         70.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 70 of the Complaint and therefore deny the

 same.

         71.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 71 of the Complaint and therefore deny the

 same.

         72.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 72 of the Complaint and therefore deny the

 same.




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           73.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 73 of the Complaint and therefore deny the

 same.

           74.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 74 of the Complaint and therefore deny the

 same.

                                    B.       Initial Allegations and Investigation

           75.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 75 of the Complaint and therefore deny the

 same. 1

           76.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 76 of the Complaint and therefore deny the

 same.

           77.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth to the allegations contained in Paragraph 77 of the Complaint and therefore deny the

 same.

           78.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 78 of the Complaint and therefore deny the

 same.

           79.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 79 of the Complaint and therefore deny the

 same.

 1
   The Gouldsboro Police Department provided all police records related to Plaintiff to the Maine Board of Bar
 Overseers following the complaint filed against Defendant Kellett. Gouldsboro is in the process of retrieving those
 records from the Board of Bar Overseers, and Defendants will amend their Answer as necessary thereafter.


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         80.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 80 of the Complaint and therefore deny the

 same.

         81.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 81 of the Complaint and therefore deny the

 same.

         82.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 82 of the Complaint and therefore deny the

 same.

         83.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 83 of the Complaint and therefore deny the

 same.

         84.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 84 of the Complaint and therefore deny the

 same.

         85.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 85 of the Complaint and therefore deny the

 same.

         86.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 86 of the Complaint and therefore deny the

 same.




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         87.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 87 of the Complaint and therefore deny the

 same.

         88.    The allegations in Paragraph 88 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 88 of the Complaint and therefore deny the same.

         89.    The allegations in Paragraph 89 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 89 of the Complaint and therefore deny the same.

         90.    The allegations in Paragraph 90 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 90 of the Complaint and therefore deny the same.

         91.    The allegations in Paragraph 91 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 91 of the Complaint and therefore deny the same.

         92.    The allegations in Paragraph 92 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 92 of the Complaint and therefore deny the same.




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         93.    The allegations in Paragraph 93 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 93 of the Complaint and therefore deny the same.

         94.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 94 of the Complaint and therefore deny the

 same.

         95.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 95 of the Complaint and therefore deny the

 same.

         96.    The allegations in Paragraph 96 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 96 of the Complaint and therefore deny the same.

         97.    The allegations in Paragraph 97 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 97 of the Complaint and therefore deny the same.

         98.    The allegations in Paragraph 98 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 98 of the Complaint and therefore deny the same.




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         99.    The allegations in Paragraph 99 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 99 of the Complaint and therefore deny the same.

         100.   The allegations in Paragraph 100 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 100 of the Complaint and therefore deny the

 same.

         101.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 101 of the Complaint and therefore deny the

 same.

         102.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 102 of the Complaint and therefore deny the

 same.

         103.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 103 of the Complaint and therefore deny the

 same.

         104.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 104 of the Complaint and therefore deny the

 same.




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         105.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 105 of the Complaint and therefore deny the

 same.

         106.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 106 of the Complaint and therefore deny the

 same.

         107.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 107 of the Complaint and therefore deny the

 same.

         C.     April 24, 2007 Washington County 911 and Deputy Willey’s Recordings

         108.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 108 of the Complaint and therefore deny the

 same.

         109.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 109 of the Complaint and therefore deny the

 same.

         110.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 110 of the Complaint and therefore deny the

 same.

         111.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 111 of the Complaint and therefore deny the

 same.




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         112.   The allegations in Paragraph 112 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 112 of the Complaint and therefore deny the

 same.

         113.   The allegations in Paragraph 113 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 113 of the Complaint and therefore deny the

 same.

         114.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 114 of the Complaint and therefore deny the

 same.

         115.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 108 of the Complaint and therefore deny the

 same.

         116.   The allegations in Paragraph 116 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 116 of the Complaint and therefore deny the

 same.

         117.   The allegations in Paragraph 117 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is




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 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 117 of the Complaint and therefore deny the

 same.

         118.   The allegations in Paragraph 118 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 118 of the Complaint and therefore deny the

 same.

         119.   The allegations in Paragraph 119 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 119 of the Complaint and therefore deny the

 same.

         120.   The allegations in Paragraph 120 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 120 of the Complaint and therefore deny the

 same.

         121.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 121 of the Complaint and therefore deny the

 same.

         122.   The allegations in Paragraph 122 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is




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 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 122 of the Complaint and therefore deny the

 same.

         123.   The allegations in Paragraph 123 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 123 of the Complaint and therefore deny the

 same.

         124.   The allegations in Paragraph 124 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 124 of the Complaint and therefore deny the

 same.

         125.   The allegations in Paragraph 125 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 125 of the Complaint and therefore deny the

 same.

         126.   The allegations in Paragraph 126 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 126 of the Complaint and therefore deny the

 same.




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         127.   The allegations in Paragraph 127 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 127 of the Complaint and therefore deny the

 same.

         128.   The allegations in Paragraph 128 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 128 of the Complaint and therefore deny the

 same.

         129.   The allegations in Paragraph 129 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 129 of the Complaint and therefore deny the

 same.

         130.   The allegations in Paragraph 130 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 130 of the Complaint and therefore deny the

 same.

         131.   The allegations in Paragraph 131 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 131 of the Complaint and therefore deny the

 same.

         132.   The allegations in Paragraph 132 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 132 of the Complaint and therefore deny the

 same.

         133.   The allegations in Paragraph 133 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 133 of the Complaint and therefore deny the

 same.

         134.   The allegations in Paragraph 134 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 134 of the Complaint and therefore deny the

 same.

         135.   The allegations contained in Paragraph 135 of Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent that the

 allegations contained in Paragraph 135 concern Defendants, Defendants are without knowledge

 or information sufficient to form a belief as to the truth of the allegations and therefore deny the

 same.




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         136.   The allegations in Paragraph 136 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 136 of the Complaint and therefore deny the

 same.

         137.   The allegations in Paragraph 137 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 134 of the Complaint and therefore deny the

 same.

         138.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 138 of the Complaint and therefore deny the

 same.

         139.   The allegations in Paragraph 139 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 139 of the Complaint and therefore deny the

 same.

         140.   Defendants deny the allegations contained in Paragraph 140 of the Complaint.

         141.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 141 of the Complaint and therefore deny the

 same.




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         142.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 142 of the Complaint and therefore deny the

 same.

         143.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 143 of the Complaint and therefore deny the

 same.

         144.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 144 of the Complaint and therefore deny the

 same.

         145.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 145 of the Complaint and therefore deny the

 same.

                 D.     Spousal Rape Investigation and Vladek Filler’s Arrest

         146.   The allegations in Paragraph 146 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 146 of the Complaint and therefore deny the

 same.

         147.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 147 of the Complaint and therefore deny the

 same.

         148.   The allegations in Paragraph 148 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is




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 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 148 of the Complaint and therefore deny the

 same.

         149.   The allegations in Paragraph 149 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 149 of the Complaint and therefore deny the

 same.

         150.   The allegations in Paragraph 150 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 150 of the Complaint and therefore deny the

 same.

         151.   The allegations in Paragraph 151 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 151 of the Complaint and therefore deny the

 same.

         152.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 152 of the Complaint and therefore deny the

 same.

         153.   The allegations in Paragraph 153 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is




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 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 153 of the Complaint and therefore deny the

 same.

         154.   The allegations in Paragraph 154 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 154 of the Complaint and therefore deny the

 same.

         155.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 155 of the Complaint and therefore deny the

 same.

         156.   Defendants admit that the Gouldsboro Police provided Attorney Pileggi with the

 videotape, but are without knowledge or information sufficient to form a belief as to the

 remaining allegations contained in Paragraph 156 of the Complaint and therefore deny the same.

         157.   The allegations in Paragraph 157 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 157 of the Complaint and therefore deny the

 same.

         158.   The allegations in Paragraph 158 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 158 of the Complaint and therefore deny the

 same.

         159.   The allegations in Paragraph 159 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 159 of the Complaint and therefore deny the

 same.

         160.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 160 of the Complaint and therefore deny the

 same.

         161.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 161 of the Complaint and therefore deny the

 same.

         162.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 162 of the Complaint and therefore deny the

 same.

         163.   The allegations in Paragraph 163 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 163 of the Complaint and therefore deny the

 same.

         164.   The allegations in Paragraph 164 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is




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 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 164 of the Complaint and therefore deny the

 same.

         165.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 165 of the Complaint and therefore deny the

 same.

         166.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 166 of the Complaint and therefore deny the

 same.

         167.   The allegations in Paragraph 167 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 167 of the Complaint and therefore deny the

 same.

         168.   The allegations in Paragraph 168 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 168 of the Complaint and therefore deny the

 same.

         169.   The allegations in Paragraph 169 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 169 of the Complaint and therefore deny the

 same.

         170.   The allegations in Paragraph 170 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 170 of the Complaint and therefore deny the

 same.

         171.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 171 of the Complaint and therefore deny the

 same.

         172.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 172 of the Complaint and therefore deny the

 same.

         173.   The allegations in Paragraph 173 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 173 of the Complaint and therefore deny the

 same.

         174.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 174 of Complaint and, therefore, deny the

 same.

         175.   The allegations in Paragraph 175 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is




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 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 175 of the Complaint and therefore deny the

 same.

         176.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 176 of the Complaint and therefore deny the

 same.

         177.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 177 of the Complaint and therefore deny the

 same.

         178.   The allegations in Paragraph 178 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 178 of the Complaint and therefore deny the

 same.

         179.   The allegations in Paragraph 179 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 179 of the Complaint and therefore deny the

 same.

         180.   The allegations in Paragraph 180 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 180 of the Complaint and therefore deny the

 same.

         181.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 181 of the Complaint and therefore deny the

 same.

         182.   The allegations in Paragraph 182 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 182 of the Complaint and therefore deny the

 same.

         183.   The allegations contained in Paragraph 183 of Complaint concern persons other

 than the Defendants, and therefore, require no responsive pleading. To the extent a responsive

 pleading is required, Defendants are without knowledge or information sufficient to form a belief

 as to the truth of the allegations contained in Paragraph 183 of the Complaint and therefore deny

 the same.

         184.   The allegations in Paragraph 184 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 184 of the Complaint and therefore deny the

 same.

         185.   The allegations in Paragraph 185 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 185 of the Complaint and therefore deny the

 same.

         186.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 186 of Complaint and, therefore, deny the

 same.

         187.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 187 of the Complaint and therefore deny the

 same.

         188.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 188 of Complaint and, therefore, deny the

 same.

         189.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 189 of Complaint and, therefore, deny the

 same.

         190.   The allegations in Paragraph 190 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 190 of the Complaint and therefore deny the

 same.

         191.   The allegations in Paragraph 191 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 191 of the Complaint and therefore deny the

 same.

         192.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 192 of Complaint and, therefore, deny the

 same.

         193.   The allegations in Paragraph 193 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 193 of the Complaint and therefore deny the

 same.

         194.   The allegations in Paragraph 194 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 194 of the Complaint and therefore deny the

 same.

         195.   The allegations in Paragraph 195 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 195 of the Complaint and therefore deny the

 same.

         196.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 196 of Complaint and, therefore, deny the

 same.




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         197.    The allegations in Paragraph 197 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 197 of the Complaint and therefore deny the

 same.

         198.    The allegations in Paragraph 198 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 198 of the Complaint and therefore deny the

 same.

         199.    The allegations in Paragraph 199 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 199 of the Complaint and therefore deny the

 same.

         200.    Defendants admit that Defendant Wycoff’s employment with the Gouldsboro

 Police Department was terminated but deny the remaining allegations contained in Paragraph

 200 of the Complaint.

            E.      April 11, 2007 Ellsworth Police Reports and Witness Statements

         201.    Defendants admit that Plaintiff and Arguetta gave oral and written statements at

 the Ellsworth Police Department on April 11, 2007, in a complaint against Stephen Day, but are

 without knowledge or information sufficient to form a belief as to the truth of the remaining

 allegations in Paragraph 201 and therefore deny the same.




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         202.   Defendants admit that Arguetta did not report a rape to the Ellsworth Police and

 that she reported to the Ellsworth Police that she witnessed her husband get pushed by a man in a

 white shirt and that she was afraid for her husband’s safety, but are without knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations contained in

 Paragraph 202 of the Complaint and therefore deny the same.

         203.   Defendants admit the allegations contained in Paragraph 203 of the Complaint.

         204.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 204 of the Complaint and therefore deny the

 same.

         205.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 205 of Complaint and, therefore, deny the

 same.

         206.   The allegations in Paragraph 206 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 206 of the Complaint and therefore deny the

 same.

         207.   The allegations in Paragraph 207 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 207 of the Complaint and therefore deny the

 same.




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         208.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 208 of the Complaint and, therefore, deny the

 same.

         209.   The allegations contained in Paragraph 209 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the allegations contained in Paragraph 209 of the Complaint and

 therefore deny the same.

         210.   Defendants admit the allegations contained in Paragraph 210 of the Complaint.

         211.   Defendants admit the allegations contained in Paragraph 211 of the Complaint.

         212.   Defendants admit that Defendant Kellett instructed Wilmot not to provide the

 subpoenaed records to the defense before June 9, 2008, but are without knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations contained in

 Paragraph 212 and therefore deny the same.

         213.   Defendants admit that Wilmot did not provide the records prior to June 9, 2008,

 and further state that Wilmot was subsequently released from the subpoena prior to June 9, 2008.

         214.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 214 of the Complaint, and therefore, deny the

 same.

         215.   The allegations in Paragraph 215 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 215 of the Complaint and therefore deny the

 same.

         216.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 216 of the Complaint, and therefore, deny the

 same.

         217.   The allegations in Paragraph 217 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 217 of the Complaint and therefore deny the

 same.

         218.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 218 of the Complaint, and therefore, deny the

 same.

         219.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 219 of the Complaint, and therefore, deny the

 same.

         220.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 220 of the Complaint, and therefore, deny the

 same.

         221.   The allegations in Paragraph 221 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 221 of the Complaint and therefore deny the

 same.

         222.   Defendants admit that Plaintiff obtained all witness statements and the police

 report directly from Chief DeLeo, but are without knowledge or information sufficient to form a

 belief as to the truth of the remaining allegations contained in Paragraph 222 of the Complaint

 and therefore deny the same.

         223.   The allegations in Paragraph 223 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 223 of the Complaint and therefore deny the

 same.

         224.   The allegations in Paragraph 224 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 224 of the Complaint and therefore deny the

 same.

         225.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 225 of the Complaint and therefore deny the

 same.

         226.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 226 of the Complaint and therefore deny the

 same.




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         227.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 227 of the Complaint and therefore deny the

 same.

         228.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 228 of the Complaint and therefore deny the

 same.

         229.   Defendants deny the allegations contained in Paragraph 229 of the Complaint to

 the extent said allegations concern Defendants. The remaining allegations contained in

 Paragraph 229 of the Complaint concern another defendant to this lawsuit and therefore require

 no responsive pleading. To the extent a responsive pleading is required, Defendants are without

 knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 contained in Paragraph 229 of the Complaint and therefore deny the same.

         230.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 230 of the Complaint, and therefore, deny the

 same.

         231.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 219 of the Complaint, and therefore, deny the

 same.

    F.     Withheld April 24, 2007 Washington County 911 and Video/Audio Recordings

         232.   The allegations in Paragraph 232 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 232 of the Complaint and therefore deny the

 same.

         233.   The allegations in Paragraph 233 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 233 of the Complaint and therefore deny the

 same.

         234.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 234 of the Complaint, and therefore, deny the

 same.

         235.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 235 of the Complaint, and therefore, deny the

 same.

         236.   The allegations in Paragraph 236 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 236 of the Complaint and therefore deny the

 same.

         237.   The allegations in Paragraph 237 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 237 of the Complaint and therefore deny the

 same.




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         238.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 238 of the Complaint, and therefore, deny the

 same.

         239.   The allegations in Paragraph 239 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 239 of the Complaint and therefore deny the

 same.

         240.   The allegations in Paragraph 240 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 240 of the Complaint and therefore deny the

 same.

         241.   The allegations in Paragraph 241 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 241 of the Complaint and therefore deny the

 same.

         242.   The allegations in Paragraph 242 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 242 of the Complaint and therefore deny the

 same.




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         243.   The allegations in Paragraph 243 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 243 of the Complaint and therefore deny the

 same.

         244.   The allegations in Paragraph 244 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 244 of the Complaint and therefore deny the

 same.

         245.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 245 of the Complaint, and therefore, deny the

 same.

         246.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 246 of the Complaint, and therefore, deny the

 same.

         247.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 247 of the Complaint, and therefore, deny the

 same.

         248.   The allegations in Paragraph 248 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 248 of the Complaint and therefore deny the

 same.

         249.   The allegations in Paragraph 249 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 249 of the Complaint and therefore deny the

 same.

         250.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 250 of the Complaint, and therefore, deny the

 same.

         251.   The allegations in Paragraph 251 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 251 of the Complaint and therefore deny the

 same.

         252.   The allegations in Paragraph 252 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 252 of the Complaint and therefore deny the

 same.

         253.   The allegations in Paragraph 253 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 253 of the Complaint and therefore deny the

 same.

         254.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 254 of the Complaint, and therefore, deny the

 same.

         255.   The allegations in Paragraph 255 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 255 of the Complaint and therefore deny the

 same.

         256.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 256 of the Complaint, and therefore, deny the

 same.

         257.   The allegations in Paragraph 257 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 257 of the Complaint and therefore deny the

 same.

         258.   The allegations in Paragraph 258 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 258 of the Complaint and therefore deny the

 same.




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         259.   The allegations in Paragraph 259 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 259 of the Complaint and therefore deny the

 same.

         260.   The allegations in Paragraph 260 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 260 of the Complaint and therefore deny the

 same.

         261.   The allegations in Paragraph 261 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 261 of the Complaint and therefore deny the

 same.

         262.   The allegations in Paragraph 262 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 262 of the Complaint and therefore deny the

 same.

         263.   The allegations in Paragraph 263 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 263 of the Complaint and therefore deny the

 same.

         264.   The allegations in Paragraph 264 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 264 of the Complaint and therefore deny the

 same.

         265.   The allegations in Paragraph 265 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 265 of the Complaint and therefore deny the

 same.

         266.   The allegations in Paragraph 266 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 266 of the Complaint and therefore deny the

 same.

         267.   The allegations in Paragraph 267 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 267 of the Complaint and therefore deny the

 same.




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         268.   The allegations in Paragraph 268 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 268 of the Complaint and therefore deny the

 same.

         269.   The allegations in Paragraph 269 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 269 of the Complaint and therefore deny the

 same.

         270.   The allegations in Paragraph 270 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 270 of the Complaint and therefore deny the

 same.

         271.   The allegations in Paragraph 271 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 271 of the Complaint and therefore deny the

 same.




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           G.      Withheld April 24, 2007 Gouldsboro Police Records and Reports

         272.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 272 of the Complaint, and therefore, deny the

 same.

         273.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 273 of the Complaint, and therefore, deny the

 same.

         274.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 274 of the Complaint, and therefore, deny the

 same.

         275.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 275 of the Complaint and therefore deny the

 same.

         276.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 276 of the Complaint, and therefore, deny the

 same.

         277.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 277 of the Complaint, and therefore, deny the

 same.

         278.   That the reports should have been provided as automatic discovery states a legal

 conclusion to which no response is required. Defendants are without knowledge or information

 sufficient to form a belief as to the truth of the remaining allegations contained in Paragraph 278

 and therefore deny the same.




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         279.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 279 of the Complaint, and therefore, deny the

 same.

         280.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 280 of the Complaint, and therefore, deny the

 same.

         281.   That the Gouldsboro Police records were discoverable states a legal conclusion to

 which no response is required. To the extent a response is required, Defendants are without

 knowledge or information sufficient to form a belief as to the truth of the allegations contained in

 Paragraph 281 of the Complaint and therefore deny the same.

         282.   The allegations in Paragraph 282 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 282 of the Complaint and therefore deny the

 same.

         283.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 283 of the Complaint, and therefore, deny the

 same.

         284.   The allegations in Paragraph 284 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 284 of the Complaint and therefore deny the

 same.




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         285.   The allegations in Paragraph 285 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 285 of the Complaint and therefore deny the

 same.

         286.   The allegations in Paragraph 286 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 286 of the Complaint and therefore deny the

 same.

  H.      Suppressed May 25, 2007 Videotaped Interview by Detective Stephen McFarland

         287.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 287 of the Complaint, and therefore, deny the

 same.

         288.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 288 of the Complaint, and therefore, deny the

 same.

         289.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 289 of the Complaint, and therefore, deny the

 same.

         290.   The allegations in Paragraph 290 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 290 of the Complaint and therefore deny the

 same.

         291.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 219 of the Complaint, and therefore, deny the

 same.

         292.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 292 of the Complaint, and therefore, deny the

 same.

         293.   The allegations in Paragraph 293 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 293 of the Complaint and therefore deny the

 same.

         294.   The allegations in Paragraph 294 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 294 of the Complaint and therefore deny the

 same.

         295.   The allegations in Paragraph 295 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 295 of the Complaint and therefore deny the

 same.




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         296.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 296 of the Complaint, and therefore, deny the

 same.

         297.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 297 of the Complaint, and therefore, deny the

 same.

         298.   The allegations in Paragraph 298 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 298 of the Complaint and therefore deny the

 same.

         299.   The allegations in Paragraph 299 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 299 of the Complaint and therefore deny the

 same.

         300.   The allegations in Paragraph 300 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 300 of the Complaint and therefore deny the

 same.




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         301.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 301 of the Complaint, and therefore, deny the

 same.

         302.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 302 of the Complaint, and therefore, deny the

 same.

         303.   The allegations in Paragraph 303 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 303 of the Complaint and therefore deny the

 same.

         304.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 304 of the Complaint and therefore deny the

 same.

         305.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 305 of the Complaint and therefore deny the

 same.

         306.   The allegations in Paragraph 306 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 306 of the Complaint and therefore deny the

 same.




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         307.   The allegations in Paragraph 307 of the Complaint state a legal conclusion to

 which no response is required and concern another defendant to this lawsuit and therefore require

 no responsive pleading. To the extent a responsive pleading is required, Defendants are without

 knowledge or information sufficient to form a belief as to the truth of the allegations contained in

 Paragraph 307 of the Complaint and therefore deny the same.

         308.   The allegations in Paragraph 308 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 308 of the Complaint and therefore deny the

 same.

         309.   The allegations in Paragraph 309 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 309 of the Complaint and therefore deny the

 same.

         310.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 310 of the Complaint, and therefore, deny the

 same.

         311.   The allegations in Paragraph 311 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 311 of the Complaint and therefore deny the

 same.




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                           I.      Fraudulent Photographic Evidence

         312.   The allegations in Paragraph 312 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 312 of the Complaint and therefore deny the

 same.

         313.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 313 of the Complaint, and therefore, deny the

 same.

         314.   The allegations in Paragraph 314 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 314 of the Complaint and therefore deny the

 same.

         315.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 315 of the Complaint, and therefore, deny the

 same.

         316.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 316 of the Complaint, and therefore, deny the

 same.

         317.   The allegations in Paragraph 317 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 317 of the Complaint and therefore deny the

 same.

         318.   The allegations in Paragraph 318 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 318 of the Complaint and therefore deny the

 same.

         319.   The allegations in Paragraph 319 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 319 of the Complaint and therefore deny the

 same.

         320.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 320 of the Complaint, and therefore, deny the

 same.

         321.   The allegations in Paragraph 321 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 321 of the Complaint and therefore deny the

 same.

         322.   The allegations in Paragraph 322 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 322 of the Complaint and therefore deny the

 same.

         323.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 320 of the Complaint, and therefore, deny the

 same.

                             J.     Fraudulent Computer Evidence

         324.   The allegations in Paragraph 324 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 324 of the Complaint and therefore deny the

 same.

         325.   The allegations in Paragraph 325 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 325 of the Complaint and therefore deny the

 same.

         326.   The allegations in Paragraph 326 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 326 of the Complaint and therefore deny the

 same.




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         327.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 327 of the Complaint, and therefore, deny the

 same.

         328.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 328 of the Complaint, and therefore, deny the

 same.

         329.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 329 of the Complaint, and therefore, deny the

 same.

         330.   The allegations in Paragraph 330 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 330 of the Complaint and therefore deny the

 same.

         331.   The allegations in Paragraph 331 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 331 of the Complaint and therefore deny the

 same.

         332.   The allegations in Paragraph 332 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 332 of the Complaint and therefore deny the

 same.

         333.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 333 of the Complaint, and therefore, deny the

 same.

         334.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 334 of the Complaint, and therefore, deny the

 same.

         335.   The allegations in Paragraph 335 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 335 of the Complaint and therefore deny the

 same.

         336.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 336 of the Complaint, and therefore, deny the

 same.

         337.   The allegations in Paragraph 337 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 337 of the Complaint and therefore deny the

 same.




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         338.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 338 of the Complaint, and therefore, deny the

 same.

         339.   The allegations in Paragraph 339 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 339 of the Complaint and therefore deny the

 same.

                     K.      Arguetta’s Mistranslated and Ignored E-mails

         340.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 340 of the Complaint, and therefore, deny the

 same.

         341.   The allegations in Paragraph 341 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 341 of the Complaint and therefore deny the

 same.

         342.   The allegations in Paragraph 342 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 342 of the Complaint and therefore deny the

 same.




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         343.   The allegations in Paragraph 343 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 343 of the Complaint and therefore deny the

 same.

         344.   The allegations in Paragraph 344 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 344 of the Complaint and therefore deny the

 same.

         345.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 345 of the Complaint, and therefore, deny the

 same.

         346.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 346 of the Complaint, and therefore, deny the

 same.

                      L.     Interference with Child Custody Proceedings

         347.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 347 of the Complaint and therefore deny the

 same.

         348.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 348 of the Complaint, and therefore, deny the

 same.




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         349.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 349 of the Complaint, and therefore, deny the

 same.

         350.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 350 of the Complaint, and therefore, deny the

 same.

         351.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 351 of the Complaint, and therefore, deny the

 same.

         352.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 219 of the Complaint, and therefore, deny the

 same.

         353.   The allegations in Paragraph 353 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 353 of the Complaint and therefore deny the

 same.

         354.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 354 of the Complaint, and therefore, deny the

 same.

         355.   The allegations in Paragraph 355 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 355 of the Complaint and therefore deny the

 same.

         356.   The allegations in Paragraph 356 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 356 of the Complaint and therefore deny the

 same.

         357.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 357 of the Complaint, and therefore, deny the

 same.

         358.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 219 of the Complaint, and therefore, deny the

 same.

         359.   The allegations in Paragraph 359 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 359 of the Complaint and therefore deny the

 same.

         360.   The allegations in Paragraph 360 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 360 of the Complaint and therefore deny the

 same.




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         361.     Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 361 of the Complaint, and therefore, deny the

 same.

                             M.      Second Trial Discovery Violations

         362.      The allegations in Paragraph 362 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the remaining allegations contained in Paragraph 362 of the Complaint and therefore

 deny the same.

         363.     Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 363 of the Complaint, and therefore, deny the

 same.

         364.     Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 364 of the Complaint, and therefore, deny the

 same.

         365.     Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 365 of the Complaint, and therefore, deny the

 same.

         366.     The allegations in Paragraph 366 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 366 of the Complaint and therefore deny the

 same.




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                                  N.     Defamatory Statements

         367.   The allegations in Paragraph 367 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 367 of the Complaint and therefore deny the

 same.

         368.   The allegations in Paragraph 368 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 368 of the Complaint and therefore deny the

 same.

         369.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations in relation to the Bar Judgment. The remaining allegations in

 Paragraph 369 of the Complaint concern another defendant to this lawsuit and therefore require

 no responsive pleading. To the extent a responsive pleading is required, Defendants are without

 knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 contained in Paragraph 369 and therefore deny the same.

         370.   The allegations in Paragraph 370 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 370 of the Complaint, and therefore, deny the

 same.




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         371.   The allegations in Paragraph 371 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 371 of the Complaint and therefore deny the

 same.

         372.   The allegations in Paragraph 372 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 372 of the Complaint, and therefore, deny the

 same.

 O.    Summary of Misconduct of Deputy Travis Willey, Individually, Lieutenant Denbow,
 Individually, Deputy Michael Crabtree, Individually and the Washington County Sheriff’s
  Office – Failure to Turn Over Exculpatory Evidence to the District Attorney’s Office Or
                     Vladek Filler; Destruction of Exculpatory Evidence


         373.   The allegations in Paragraph 373 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 373 of the Complaint and therefore deny the

 same.

         373.   The allegations in Paragraph 373 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 373 of the Complaint and therefore deny the

 same.




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         374.   The allegations in Paragraph 374 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 374 of the Complaint and therefore deny the

 same.

         375.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 375 of the Complaint, and therefore, deny the

 same.

         376.   The allegations in Paragraph 376 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 376 of the Complaint and therefore deny the

 same.

         377.   The allegations in Paragraph 377 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 377 of the Complaint and therefore deny the

 same.

         378.   The allegations in Paragraph 378 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 378 of the Complaint and therefore deny the

 same.




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         379.   The allegations in Paragraph 379 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 379 of the Complaint and therefore deny the

 same.

         380.   The allegations in Paragraph 380 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 380 of the Complaint and therefore deny the

 same.

         381.   The allegations in Paragraph 381 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 381 of the Complaint and therefore deny the

 same.

         382.   The allegations in Paragraph 382 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 382 of the Complaint and therefore deny the

 same.

         383.   The allegations in Paragraph 383 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 383 of the Complaint and therefore deny the

 same.

         384.   The allegations in Paragraph 384 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 384 of the Complaint and therefore deny the

 same.

         385.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 385 of the Complaint, and therefore, deny the

 same.

         386.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 386 of the Complaint, and therefore, deny the

 same.

         387.   The allegations in Paragraph 387 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 387 of the Complaint and therefore deny the

 same.

         388.   The allegations in Paragraph 388 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 388 of the Complaint and therefore deny the

 same.




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         389.   The allegations in Paragraph 389 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 389 of the Complaint and therefore deny the

 same.

         390.   The allegations in Paragraph 390 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 390 of the Complaint and therefore deny the

 same.

         391.   The allegations in Paragraph 391 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 391 of the Complaint and therefore deny the

 same.

         392.   The allegations in Paragraph 392 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 392 of the Complaint and therefore deny the

 same.

         393.   The allegations in Paragraph 393 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 393 of the Complaint and therefore deny the

 same.

         394.   The allegations in Paragraph 394 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 394 of the Complaint and therefore deny the

 same.

         395.   The allegations in Paragraph 395 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 395 of the Complaint and therefore deny the

 same.

         396.   The allegations in Paragraph 396 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 396 of the Complaint and therefore deny the

 same.

         397.   The allegations in Paragraph 397 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 397 of the Complaint and therefore deny the

 same.




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         398.   The allegations in Paragraph 398 of the Complaint state a legal conclusion and

 concern another defendant to this lawsuit and therefore require no responsive pleading. To the

 extent a responsive pleading is required, Defendants are without knowledge or information

 sufficient to form a belief as to the truth of the allegations contained in Paragraph 398 of the

 Complaint and therefore deny the same.

         399.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 399 of the Complaint and therefore deny the

 same.

    P.      Misconduct of Officer Wilmot, Individually, Ellsworth and Hancock County –
         Failure to Produce Exculpatory Materials Regarding Events of April 11, 2007

         400.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 400 of the Complaint, and therefore, deny the

 same.

         401.   Defendants admit the allegations contained in Paragraph 401 of the Complaint.

         402.   Defendants admit that Arguetta did not file a complaint of rape with the Ellsworth

 Police Department on April 11, 2007, and that she stated she observed a man in a white shirt

 pushed Plaintiff and that she feared for Plaintiff’s safety. Defendants are without knowledge or

 information sufficient to form a belief as to truth of the remaining allegations in Paragraph 402

 of the Complaint and therefore deny the same.

         403.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 403 of the Complaint, and therefore, deny the

 same.

         404.   Defendants admit the allegations contained in Paragraph 404 of the Complaint.




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         405.   Defendants admit that Kellett advised Wilmot not to produce the records prior to

 June 9, 2008, but deny the remaining allegations contained in Paragraph 405 of the Complaint.

         406.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 406 of the Complaint, and therefore, deny the

 same.

         407.   The allegations in Paragraph 407 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 407 of the Complaint and therefore deny the

 same.

         408.   Defendants deny the allegations contained in Paragraph 408 of the Complaint.

         409.   Defendants admit that DeLeo produced the records, but are without knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations contained in

 Paragraph 409 of the Complaint, and therefore deny the same.

         410.   Defendants deny the allegations contained in Paragraph 410 of the Complaint.

         411.   Defendants deny the allegations contained in Paragraph 411 of the Complaint.

  Q.      Summary of Wrongful Conduct of Officer McFarland – Falsification of Evidence,
              Withholding of Exculpatory Evidence, Fabrication of Evidence

         412.   The allegations in Paragraph 412 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 412 of the Complaint and therefore deny the

 same.




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         413.   The allegations in Paragraph 413 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 413 of the Complaint and therefore deny the

 same.

         414.   The allegations in Paragraph 414 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 414 of the Complaint and therefore deny the

 same.

         415.   The allegations in Paragraph 415 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 415 of the Complaint and therefore deny the

 same.

         416.   The allegations in Paragraph 416 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 416 of the Complaint and therefore deny the

 same.

         417.   The allegations in Paragraph 417 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 417 of the Complaint and therefore deny the

 same.

         418.   The allegations in Paragraph 418 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 418 of the Complaint and therefore deny the

 same.

         419.   The allegations in Paragraph 419 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 419 of the Complaint and therefore deny the

 same.

         420.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 420 of the Complaint, and therefore, deny the

 same.

         421.   The allegations in Paragraph 421 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 421 of the Complaint and therefore deny the

 same.

         422.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 422 of the Complaint, and therefore, deny the

 same.




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         423.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 423 of the Complaint, and therefore, deny the

 same.

         424.   The allegations in Paragraph 424 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 424 of the Complaint and therefore deny the

 same.

         425.   The allegations in Paragraph 425 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 425 of the Complaint and therefore deny the

 same.

         426.   The allegations in Paragraph 426 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 426 of the Complaint and therefore deny the

 same.

         427.   The allegations in Paragraph 427 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 427 of the Complaint and therefore deny the

 same.




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         428.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 428 of the Complaint, and therefore, deny the

 same.

         429.   The allegations in Paragraph 429 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 429 of the Complaint and therefore deny the

 same.

         430.   Paragraph 430 states a legal conclusion to which no response is required. To the

 extent that Paragraph 430 includes factual allegations, Defendants deny the same.

  R.      Summary of Wrongful Conduct of Gouldsboro Police Chief Wycoff, Individually

         431.   The allegations in Paragraph 431 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 431 of the Complaint and therefore deny the

 same.

         432.   The allegations in Paragraph 432 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 432 of the Complaint and therefore deny the

 same.

         433.   The allegations in Paragraph 433 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is




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 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 433 of the Complaint and therefore deny the

 same.

         434.   The allegations in Paragraph 434 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 434 of the Complaint and therefore deny the

 same.

         435.   The allegations in Paragraph 435 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 435 of the Complaint and therefore deny the

 same.

         436.   The allegations in Paragraph 436 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 436 of the Complaint and therefore deny the

 same.

         437.   The allegations in Paragraph 437 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 437 of the Complaint and therefore deny the

 same.




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         438.   The allegations in Paragraph 438 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 438 of the Complaint and therefore deny the

 same.

         439.   The allegations in Paragraph 439 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 439 of the Complaint and therefore deny the

 same.

         440.   The allegations in Paragraph 440 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 440 of the Complaint and therefore deny the

 same.

         441.   The allegations in Paragraph 441 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 441 of the Complaint and therefore deny the

 same.

         442.   The allegations in Paragraph 442 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 442 of the Complaint and therefore deny the

 same.

         443.   The allegations in Paragraph 443 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 443 of the Complaint and therefore deny the

 same.

         444.   The allegations in Paragraph 444 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 444 of the Complaint and therefore deny the

 same.

         445.   The allegations in Paragraph 445 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 445 of the Complaint and therefore deny the

 same.

    S.      Summary of Wrongful Conduct of Michael Povich, Individually, and as Final
                           Policymaker for Hancock County

         446.   The allegations in Paragraph 446 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 446 of the Complaint and therefore deny the

 same.



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         447.   The allegations in Paragraph 447 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 447 of the Complaint and therefore deny the

 same.

         448.   The allegations in Paragraph 448 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 448 of the Complaint and therefore deny the

 same.

         449.   The allegations in Paragraph 449 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 449 of the Complaint and therefore deny the

 same.

         450.   The allegations in Paragraph 450 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 450 of the Complaint and therefore deny the

 same.

         451.   The allegations in Paragraph 451 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 451 of the Complaint and therefore deny the

 same.

         452.   The allegations in Paragraph 452 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 452 of the Complaint and therefore deny the

 same.

         453.   The allegations in Paragraph 453 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 453 of the Complaint and therefore deny the

 same.

         454.   The allegations in Paragraph 454 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 454 of the Complaint and therefore deny the

 same.

         455.   The allegations in Paragraph 455 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 455 of the Complaint and therefore deny the

 same.




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         456.   The allegations in Paragraph 456 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 456 of the Complaint and therefore deny the

 same.

         457.   The allegations in Paragraph 457 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 457 of the Complaint and therefore deny the

 same.

         458.   The allegations in Paragraph 458 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 458 of the Complaint and therefore deny the

 same.

         459.   The allegations in Paragraph 459 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 459 of the Complaint and therefore deny the

 same.




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     T.      Summary of Misconduct of Povich Acting as Final Policymaker for Hancock
                                         County


          460.   The allegations in Paragraph 460 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 460 of the Complaint and therefore deny the

 same.

          461.   The allegations in Paragraph 460 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 460 of the Complaint and therefore deny the

 same.

          462.   The allegations in Paragraph 462 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 462 of the Complaint and therefore deny the

 same.

          463.   The allegations in Paragraph 463 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 463 of the Complaint and therefore deny the

 same.




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         464.   The allegations in Paragraph 464 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 464 of the Complaint and therefore deny the

 same.

         465.   The allegations in Paragraph 465 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 465 of the Complaint and therefore deny the

 same.

         466.   The allegations in Paragraph 466 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 466 of the Complaint and therefore deny the

 same.

         467.   The allegations in Paragraph 467 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 467 of the Complaint and therefore deny the

 same.

         468.   The allegations in Paragraph 468 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 468 of the Complaint and therefore deny the

 same.

         469.   The allegations in Paragraph 469 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 469 of the Complaint and therefore deny the

 same.

         470.   The allegations in Paragraph 469 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 469 of the Complaint and therefore deny the

 same.

         471.   The allegations in Paragraph 471 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 471 of the Complaint and therefore deny the

 same.

         472.   The allegations in Paragraph 472 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 472 of the Complaint and therefore deny the

 same.




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         473.   The allegations in Paragraph 473 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 473 of the Complaint and therefore deny the

 same.

         474.   The allegations in Paragraph 474 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 474 of the Complaint and therefore deny the

 same.

         475.   The allegations in Paragraph 475 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 475 of the Complaint and therefore deny the

 same.

         476.   The allegations in Paragraph 476 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 476 of the Complaint and therefore deny the

 same.

         477.   The allegations in Paragraph 477 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 477 of the Complaint and therefore deny the

 same.

         478.   The allegations in Paragraph 478 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 478 of the Complaint and therefore deny the

 same.

         479.   Paragraph 479 states a legal conclusion to which no response is required. To the

 extent that Paragraph 479 includes factual allegations, Defendants deny the same.

         480.   Paragraph 480 states a legal conclusion to which no response is required. To the

 extent that Paragraph 480 includes factual allegations, Defendants deny the same.

         481.   The allegations in Paragraph 481 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 481 of the Complaint and therefore deny the

 same.

         482.   The allegations in Paragraph 482 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 482 of the Complaint and therefore deny the

 same.

         483.   The allegations in Paragraph 483 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is




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 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 483 of the Complaint and therefore deny the

 same.

         484.   The allegations in Paragraph 484 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 484 of the Complaint and therefore deny the

 same.

         485.   The allegations in Paragraph 485 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 485 of the Complaint and therefore deny the

 same.

         486.   The allegations in Paragraph 486 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 486 of the Complaint and therefore deny the

 same.

         487.   The allegations in Paragraph 487 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 487 of the Complaint and therefore deny the

 same.




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         488.   The allegations in Paragraph 488 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 488 of the Complaint and therefore deny the

 same.

         489.   The allegations in Paragraph 489 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 489 of the Complaint and therefore deny the

 same.

         490.   The allegations in Paragraph 490 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 490 of the Complaint and therefore deny the

 same.

                        U.     Summary of Misconduct of Mary Kellett

         491.   The allegations in Paragraph 491 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 491 of the Complaint and therefore deny the

 same.

         492.   The allegations in Paragraph 492 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is




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 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 492 of the Complaint and therefore deny the

 same.

         493.   The allegations in Paragraph 493 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 496 of the Complaint and therefore deny the

 same.

         494.   The allegations in Paragraph 494 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 494 of the Complaint and therefore deny the

 same.

         495.   The allegations in Paragraph 495 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 495 of the Complaint and therefore deny the

 same.

         496.   Defendants admit that Kellett instructed Wilmot not to produce the records prior

 to June 9, 2008, but deny the remaining allegations contained in Paragraph 496 of the Complaint.

         497.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 497 of the Complaint, and therefore, deny the

 same.




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         498.        Defendants deny that Defendants conspired to withhold exculpatory information

 and falsified evidence so that Filler could be wrongfully charged and wrongfully convicted of

 sexual assault. The remaining allegations in Paragraph 498 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 498 of the

 Complaint and therefore deny the same.

                V.       Summary of Misconduct of Supervisors and County Officials

         499.        The allegations in Paragraph 499 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 499 of the Complaint and therefore deny the

 same.

         500.        The allegations in Paragraph 500 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 500 of the Complaint and therefore deny the

 same.

         501.        The allegations in Paragraph 501 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 501 of the Complaint and therefore deny the

 same.




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         502.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 502 of the Complaint and therefore deny the

 same.

         503.   The allegations in Paragraph 503 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 503 of the Complaint and therefore deny the

 same.

         504.   The allegations in Paragraph 504 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 505 of the Complaint and therefore deny the

 same.

         505.   The allegations in Paragraph 505 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 505 of the Complaint and therefore deny the

 same.

         506.   Defendants deny the allegations with respect to Defendants. The remaining

 allegations in Paragraph 506 of the Complaint concern another defendant to this lawsuit and

 therefore require no responsive pleading. To the extent a responsive pleading is required,

 Defendants are without knowledge or information sufficient to form a belief as to the truth of the

 remaining allegations contained in Paragraph 506 of the Complaint and therefore deny the same.




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         507.   The allegations in Paragraph 507 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 507 of the Complaint and therefore deny the

 same.

         508.   The allegations in Paragraph 508 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 508 of the Complaint and therefore deny the

 same.

                                    W.     Conflict of Interest

         509.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 509 of the Complaint, and therefore, deny the

 same.

         510.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 510 of the Complaint, and therefore, deny the

 same.

         511.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 511 of the Complaint, and therefore, deny the

 same.

         512.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 512 of the Complaint, and therefore, deny the

 same.




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         513.   The allegations in Paragraph 513 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 513 of the Complaint and therefore deny the

 same.

         514.   The allegations in Paragraph 514 of the Complaint concern other defendants to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 514 of the Complaint and therefore deny the

 same.

         515.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 515 of the Complaint, and therefore, deny the

 same.

         516.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 516 of the Complaint, and therefore, deny the

 same.

         517.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 517 of the Complaint, and therefore, deny the

 same.

         518.   The allegations in Paragraph 518 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 518 of the Complaint and therefore deny the

 same.

         519.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 519 of the Complaint, and therefore, deny the

 same.

                                IV.    CAUSES OF ACTION
                              A.     42 U.S.C. § 1983 CLAIMS
                                        COUNT ONE
  42 U.S.C. § 1983: Denial of Rights to Due Process and a Fair Trial Under the Fifth, Sixth,
 and Fourteenth Amendments; Malicious Prosecution and Deprivation of Liberty Under the
                            Fourth and Fourteenth Amendments
   (Defendants Michael Povich, Sheriff Donnie Smith, Sheriff William Clark, Chief John
    DeLeo, Travis Willey, Guy Wycoff, Chad Wilmot, Stephen McFarland, Mary Kellett,
                           David Denbow and Michael Crabtree)

         520.   Defendants repeat and reassert their Answers to paragraphs 1 – 519 of the

 Complaint as though fully set forth herein.

         521.   The allegations in Paragraph 521 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 521 of the Complaint and therefore deny the

 same.

         522.   The allegations in Paragraph 522 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 522 of the Complaint and therefore deny the

 same.




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         523.     The allegations in Paragraph 523 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 523 of the Complaint and therefore deny the

 same.

         524.     The allegations in Paragraph 524 of the Complaint concern other defendants to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 523 of the Complaint and therefore deny the

 same.

         525.     Defendants deny the allegations contained in Paragraph 525 of the Complaint.

         526.     The allegations in Paragraph 526 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 526 of the Complaint and therefore deny the

 same.

         527.     Defendants deny the allegations in Paragraph 527 as they concern Defendants.

 The remaining allegations in Paragraph 527 of the Complaint concern another defendant to this

 lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the remaining allegations contained in Paragraph 527 of the Complaint and therefore

 deny the same.




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         528.   Defendants deny the allegations contained in Paragraph 528 as they concern

 Defendants. The remaining allegations in Paragraph 528 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 528 of the

 Complaint and therefore deny the same.

         529.   The allegations in Paragraph 529 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 529 of the Complaint and therefore deny the

 same.

         530.   Defendants deny the allegations contained in Paragraph 530 as they concern

 Defendants. The remaining allegations in Paragraph 530 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 530 of the

 Complaint and therefore deny the same.

         531.   Defendants deny the allegations contained in Paragraph 531 as they concern

 Defendants. The remaining allegations in Paragraph 531 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 531 of the

 Complaint and therefore deny the same.




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         532.   The allegations in Paragraph 532 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 532 of the Complaint and therefore deny the

 same.

         533.   Defendants deny the allegations contained in Paragraph 533 as they concern

 Defendants. The remaining allegations in Paragraph 533 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 533 of the

 Complaint and therefore deny the same.

         534.   Defendants deny the allegations contained in Paragraph 534 as they concern

 Defendants. The remaining allegations in Paragraph 534 of the Complaint concern other

 defendants to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 534 of the

 Complaint and therefore deny the same.

         535.   Defendants deny the allegations contained in Paragraph 535 as they concern

 Defendants. The remaining allegations in Paragraph 535 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 535 of the

 Complaint and therefore deny the same.




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        536.    Defendants deny the allegations contained in Paragraph 536 as they concern

 Defendants. The remaining allegations in Paragraph 536 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 536 of the

 Complaint and therefore deny the same.

        537.    Defendants deny the allegations contained in Paragraph 537 as they concern

 Defendants. The remaining allegations in Paragraph 537 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 537 of the

 Complaint and therefore deny the same.

        538.    Defendants deny the allegations contained in Paragraph 538 as they concern

 Defendants. The remaining allegations in Paragraph 538 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 538 of the

 Complaint and therefore deny the same.

        539.    Defendants deny the allegations contained in Paragraph 539 as they concern

 Defendants. The remaining allegations in Paragraph 539 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to




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 form a belief as to the truth of the remaining allegations contained in Paragraph 539 of the

 Complaint and therefore deny the same.

         540.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 540 of the Complaint and therefore deny the

 same.

         WHEREFORE, Defendants respectfully request that Plaintiff’s Complaint be dismissed

 and for their costs and for such other relief as the Court deems just and appropriate.

                                         COUNT TWO
  42 U.S.C. § 1983: Defamation; Malicious Prosecution and Deprivation of Liberty Under the
     Fourth and Fourteenth Amendments; Denied of Due Process Rights and a Fair Trial
                     Under the Fifth, Sixth and Fourteenth Amendments.
                        (Povich, Kellett, Wycoff, Bassano, Cavanaugh)

         541.   Defendants repeat and reassert their Answers to paragraphs 1 – 540 of the

 Complaint as though fully set forth herein.

         542.   The allegations in Paragraph 542 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 542 of the Complaint and therefore deny the

 same.

         543.   The allegations in Paragraph 543 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 543 of the Complaint and therefore deny the

 same.




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         544.   The allegations in Paragraph 544 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 544 of the Complaint and therefore deny the

 same.

         545.   The allegations in Paragraph 545 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 545 of the Complaint and therefore deny the

 same.

         546.   Defendants are without knowledge or information sufficient to for a belief as to

 the truth of the allegations contained in Paragraph 546 and therefore deny the same.

         547.   The allegations in Paragraph 547 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 547 of the Complaint and therefore deny the

 same.

         548.   The allegations in Paragraph 548 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 548 of the Complaint and therefore deny the

 same.




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         549.   The allegations in Paragraph 549 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 549 of the Complaint and therefore deny the

 same.

         550.   The allegations in Paragraph 550 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 550 of the Complaint and therefore deny the

 same.

         551.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 551 of the Complaint, and therefore, deny the

 same.

         552.   The allegations in Paragraph 552 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 552 of the Complaint and therefore deny the

 same.

         553.   The allegations in Paragraph 553 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 553 of the Complaint and therefore deny the

 same.




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         554.   The allegations in Paragraph 554 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 554 of the Complaint and therefore deny the

 same.

         555.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 555 of the Complaint, and therefore, deny the

 same.

         556.   The allegations in Paragraph 556 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 556 of the Complaint and therefore deny the

 same.

         557.   The allegations in Paragraph 557 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 557 of the Complaint and therefore deny the

 same.

         558.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 558 of the Complaint, and therefore, deny the

 same.




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         559.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 559 of the Complaint, and therefore, deny the

 same.

         560.   The allegations in Paragraph 560 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 560 of the Complaint and therefore deny the

 same.

         561.   The allegations in Paragraph 561 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 561 of the Complaint and therefore deny the

 same.

         562.   The allegations in Paragraph 562 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 562 of the Complaint and therefore deny the

 same.

         563.   The allegations in Paragraph 563 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 563 of the Complaint and therefore deny the

 same.




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         564.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 564 of the Complaint, and therefore, deny the

 same.

         WHEREFORE, Defendants respectfully request that Plaintiff’s Complaint be dismissed

 and for their costs and for such other relief as the Court deems just and appropriate.

                                     COUNT THREE
  Monell/42 U.S.C. § 1983 Claim Against Defendant Hancock County For The Actions of the
  Hancock County Sheriff’s Department and Hancock County District Attorney; Against the
     Town of Gouldsboro for the Actions of the Gouldsboro Police Department; Against
  Washington County for the Actions of the Washington County Police Department; Against
         the Town of Ellsworth for the Conduct of the Ellsworth Police Department

         565.   Defendants repeat and reassert their Answers to paragraphs 1 – 564 of the

 Complaint as though fully set-forth herein.

         566.   The allegations in Paragraph 566 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 566 of the Complaint and therefore deny the

 same.

         567.   The allegations in Paragraph 567 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 567 of the Complaint and therefore deny the

 same.

         568.   The allegations in Paragraph 568 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the



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 truth of the allegations contained in Paragraph 568 of the Complaint and therefore deny the

 same.

         569.   The allegations in Paragraph 569 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 569 of the Complaint and therefore deny the

 same.

         570.   The allegations in Paragraph 570 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 570 of the Complaint and therefore deny the

 same.

         571.   The allegations in Paragraph 571 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 571 of the Complaint and therefore deny the

 same.

         572.   Defendants deny the allegations contained in Paragraph 572 as they concern

 Defendants. The remaining allegations in Paragraph 572 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 572 of the

 Complaint and therefore deny the same.




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         573.   Defendants deny the allegations contained in Paragraph 573 as they concern

 Defendants. The remaining allegations in Paragraph 573 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 573 of the

 Complaint and therefore deny the same.

         574.   Defendants deny the allegations contained in Paragraph 574 of the Complaint as

 they concern Defendants. The remaining allegations in Paragraph 574 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 574 of the

 Complaint and therefore deny the same.

         575.   The allegations in Paragraph 575 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 575 of the Complaint and therefore deny the

 same.

         576.   The allegations in Paragraph 576 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 576 of the Complaint and therefore deny the

 same.




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         577.   The allegations in Paragraph 577 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 577 of the Complaint and therefore deny the

 same.

         578.   The allegations in Paragraph 578 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 578 of the Complaint and therefore deny the

 same.

         579.   The allegations in Paragraph 579 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 579 of the Complaint and therefore deny the

 same.

         580.   The allegations in Paragraph 580 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 580 of the Complaint and therefore deny the

 same.

         581.   The allegations in Paragraph 581 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 581 of the Complaint and therefore deny the

 same.

         582.   The allegations in Paragraph 582 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 582 of the Complaint and therefore deny the

 same.

         583.   The allegations in Paragraph 583 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 583 of the Complaint and therefore deny the

 same.

         584.   Defendants deny the allegations contained in Paragraph 584 as they concern

 Defendants. The remaining allegations in Paragraph 584 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 584 of the

 Complaint and therefore deny the same.

         585.   Defendants deny the allegations contained in Paragraph 585 as they concern

 Defendants. The remaining allegations in Paragraph 585 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to




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 form a belief as to the truth of the remaining allegations contained in Paragraph 585 of the

 Complaint and therefore deny the same.

        586.    Defendants deny the allegations contained in Paragraph 586 as they concern

 Defendants. The remaining allegations in Paragraph 585 of the Complaint concern another

 defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 585 of the

 Complaint and therefore deny the same.

        587.    Paragraph 587 states a legal conclusion to which no response is required. To the

 extent that Paragraph 587 includes factual allegations, Defendants deny the same.

        588.    Paragraph 588 states a legal conclusion to which no response is required. To the

 extent that Paragraph 588 includes factual allegations, Defendants deny the same.

        589.    Paragraph 589 states a legal conclusion to which no response is required. To the

 extent that Paragraph 589 includes factual allegations, Defendants deny the same.

        590.    Defendants deny the allegations contained in Paragraph 590 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 590 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 590 of the

 Complaint and therefore deny the same.

        591.    Defendants deny the allegations contained in Paragraph 591 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 591 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a




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 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 591 of the

 Complaint and therefore deny the same.

        WHEREFORE, Defendants respectfully request that Plaintiff’s Complaint be dismissed

 and for their costs and for such other relief as the Court deems just and appropriate.




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                                        COUNT FOUR
    Monell, 42 U.S.C. § 1983: Intentional Creation of an Unconstitutional Policy or Custom
    Under Color of State Law, Denial of Rights to Due Process and a Fair Trial Under the
     Fifth, Sixth, and Fourteenth Amendments; Malicious Prosecution and Deprivation of
      Liberty Under the Fourth and Fourteenth Amendments; Unconstitutional Policy or
                                            Custom
            (Defendants Hancock County, Washington County, Gouldsboro and Ellsworth,
   Povich, Bassano, Sheriff Smith, Sheriff William Clark, Chief John DeLeo and Chief Guy
                             Wycoff in their Individual Capacities)

        592.    Defendants repeat and reassert their Answers to paragraphs 1 – 591 of the

 Complaint as though fully set-forth herein.

        593.    Defendants deny the allegations contained in Paragraph 593 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 593 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 593 of the

 Complaint and therefore deny the same.

        594.    Defendants deny the allegations contained in Paragraph 594 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 594 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 594 of the

 Complaint and therefore deny the same.

        595.    The allegations in Paragraph 595 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 595 of the Complaint and therefore deny the

 same.

         596.   The allegations in Paragraph 596 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 596 of the Complaint and therefore deny the

 same.

         597.   The allegations in Paragraph 597 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 597 of the Complaint and therefore deny the

 same.

         598.   The allegations in Paragraph 598 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 598 of the Complaint and therefore deny the

 same.

         599.   The allegations in Paragraph 599 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 599 of the Complaint and therefore deny the

 same.




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         600.   The allegations in Paragraph 600 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 600 of the Complaint and therefore deny the

 same.

         601.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 601 of the Complaint and therefore deny the

 same.

         602.   Defendants deny the allegations contained in Paragraph 602 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 602 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 602 of the

 Complaint and therefore deny the same.

         603.   Defendants deny the allegations contained in Paragraph 603 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 604 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 604 of the

 Complaint and therefore deny the same.

         604.   Defendants deny the allegations contained in Paragraph 604 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 604 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a




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 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 604 of the

 Complaint and therefore deny the same.

         605.   Defendants deny the allegations contained in Paragraph 605 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 605 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 605 of the

 Complaint and therefore deny the same.

         606.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 606 of the Complaint and therefore deny the

 same.

         607.   Defendants deny the allegations contained in Paragraph 607 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 607 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 607 of the

 Complaint and therefore deny the same.

         608.   Defendants deny the allegations contained in Paragraph 608 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 608 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to




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 form a belief as to the truth of the allegations contained in Paragraph 608 of the Complaint and

 therefore deny the same.

        609.    Defendants deny the allegations contained in Paragraph 609 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 608 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the allegations contained in Paragraph 608 of the Complaint and

 therefore deny the same.

        610.    Defendants deny the allegations contained in Paragraph 610 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 608 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the allegations contained in Paragraph 608 of the Complaint and

 therefore deny the same.

        611.    Paragraph 611 states a legal conclusion to which no response is required. To the

 extent that Paragraph 611 includes factual allegations, Defendants deny the same.

        612.    Defendants deny the allegations contained in Paragraph 612 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 612 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 612 of the

 Complaint and therefore deny the same.




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         613.   Defendants deny the allegations contained in Paragraph 613 of the Complaint as

 they relate to Defendants. The remaining allegations in Paragraph 613 of the Complaint concern

 another defendant to this lawsuit and therefore require no responsive pleading. To the extent a

 responsive pleading is required, Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 613 of the

 Complaint and therefore deny the same.

         614.   Paragraph 614 states a legal conclusion to which no response is required. To the

 extent that Paragraph 614 includes factual allegations, Defendants deny the same.

         615.   Paragraph 615 states a legal conclusion to which no response is required. To the

 extent that Paragraph 615 includes factual allegations, Defendants deny the same.

         WHEREFORE, Defendants respectfully request that Plaintiff’s Complaint be dismissed

 and for their costs and for such other relief as the Court deems just and appropriate.

                                 B.      STATE TORT CLAIMS

                                         COUNT FIVE
                                      Malicious Prosecution
                                      (Nurse Linda Gleason)

         616.   Defendants repeat and reassert their Answers to paragraphs 1 – 615 of the

 Complaint as though fully set forth herein.

         617.   The allegations in Paragraph 617 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 617 of the Complaint and therefore deny the

 same.




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         618.   The allegations in Paragraph 618 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 618 of the Complaint and therefore deny the

 same.

         619.   The allegations in Paragraph 619 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 619 of the Complaint and therefore deny the

 same.

         620.   The allegations in Paragraph 620 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 620 of the Complaint and therefore deny the

 same.

         621.   The allegations in Paragraph 621 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 621 of the Complaint and therefore deny the

 same.

         622.   The allegations in Paragraph 622 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 622 of the Complaint and therefore deny the

 same.

         623.   The allegations in Paragraph 623 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 623 of the Complaint and therefore deny the

 same.

         624.   The allegations in Paragraph 624 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 624 of the Complaint and therefore deny the

 same.

         625.   The allegations in Paragraph 625 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 625 of the Complaint and therefore deny the

 same.

         626.   The allegations in Paragraph 626 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 626 of the Complaint and therefore deny the

 same.




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         627.   The allegations in Paragraph 627 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 627 of the Complaint and therefore deny the

 same.

         628.   The allegations in Paragraph 628 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 628 of the Complaint and therefore deny the

 same.

         629.   The allegations in Paragraph 629 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 629 of the Complaint and therefore deny the

 same.

         630.   The allegations in Paragraph 630 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 630 of the Complaint and therefore deny the

 same.

         631.   The allegations in Paragraph 631 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 631 of the Complaint and therefore deny the

 same.

         632.   The allegations in Paragraph 632 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 632 of the Complaint and therefore deny the

 same.

         633.   The allegations in Paragraph 633 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 633 of the Complaint and therefore deny the

 same.

         634.   The allegations in Paragraph 634 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 634 of the Complaint and therefore deny the

 same.

         635.   The allegations in Paragraph 635 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 635 of the Complaint and therefore deny the

 same.




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         636.   The allegations in Paragraph 636 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 636 of the Complaint and therefore deny the

 same.

         637.   The allegations in Paragraph 637 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 637 of the Complaint and therefore deny the

 same.

         638.   The allegations in Paragraph 638 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 638 of the Complaint and therefore deny the

 same.

         639.   The allegations in Paragraph 639 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 639 of the Complaint and therefore deny the

 same.

         640.   The allegations in Paragraph 640 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 640 of the Complaint and therefore deny the

 same.

         641.   The allegations in Paragraph 641 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 641 of the Complaint and therefore deny the

 same.

         642.   The allegations in Paragraph 642 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 642 of the Complaint and therefore deny the

 same.

         643.   The allegations in Paragraph 643 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 643 of the Complaint and therefore deny the

 same.

         644.   Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 644 of the Complaint, and therefore, deny the

 same.

         645.   The allegations in Paragraph 645 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 645 of the Complaint and therefore deny the

 same.

         646.   The allegations in Paragraph 646 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 646 of the Complaint and therefore deny the

 same.

         WHEREFORE, Defendants respectfully request that Plaintiff’s Complaint be dismissed

 and for their costs and for such other relief as the Court deems just and appropriate.

                                           COUNT SIX
                            Negligent Infliction of Emotional Distress
                                     (Nurse Linda Gleason)

         647.   Defendants repeat and reassert their Answers to paragraphs 1 – 646 of the

 Complaint as though fully set forth herein.

         648.   The allegations in Paragraph 648 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 648 of the Complaint and therefore deny the

 same.

         649.   The allegations in Paragraph 649 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 649 of the Complaint and therefore deny the

 same.




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         650.   The allegations in Paragraph 650 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 650 of the Complaint and therefore deny the

 same.

         651.   The allegations in Paragraph 651 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 651 of the Complaint and therefore deny the

 same.

         652.   The allegations in Paragraph 652 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 652 of the Complaint and therefore deny the

 same.

         653.   The allegations in Paragraph 182 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 182 of the Complaint and therefore deny the

 same.

         654.   The allegations in Paragraph 654 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the




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 truth of the allegations contained in Paragraph 654 of the Complaint and therefore deny the

 same.

         WHEREFORE, Defendants respectfully request that Plaintiff’s Complaint be dismissed

 and for their costs and for such other relief as the Court deems just and appropriate.



                                         COUNT SEVEN
                                           Defamation
                                          (Cavanaugh)

         655.   Defendants repeat and reassert their Answers to paragraphs 1 – 654 of the

 Complaint as though fully set forth herein.

         656.   The allegations in Paragraph 656 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 656 of the Complaint and therefore deny the

 same.

         657.   The allegations in Paragraph 657 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 657 of the Complaint and therefore deny the

 same.

         658.   The allegations in Paragraph 658 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 658 of the Complaint and therefore deny the

 same.


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         659.   The allegations in Paragraph 659 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 659 of the Complaint and therefore deny the

 same.

         660.   The allegations in Paragraph 660 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 660 of the Complaint and therefore deny the

 same.

         661.   The allegations in Paragraph 661 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 661 of the Complaint and therefore deny the

 same.

         662.   The allegations in Paragraph 662 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 662 of the Complaint and therefore deny the

 same.

         WHEREFORE, Defendants respectfully request that Plaintiff’s Complaint be dismissed

 and for their costs and for such other relief as the Court deems just and appropriate.




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                                      COUNT EIGHT
                          Negligent Infliction of Emotional Distress
                                         (Cavanaugh)
         663.   Defendants repeat and reassert their Answers to paragraphs 1 – 662 of the

 Complaint as though fully set forth herein.

         664.   The allegations in Paragraph 664 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 664 of the Complaint and therefore deny the

 same.

         665.   The allegations in Paragraph 665 of the Complaint concern another defendant to

 this lawsuit and therefore require no responsive pleading. To the extent a responsive pleading is

 required, Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 665 of the Complaint and therefore deny the

 same.

         666.   Paragraph 666 is the prayer for relief to which no responsive pleading is required.

 To the extent Paragraph 666 contains factual allegations, Defendants deny the same.

         667.   Paragraph 667 is the jury demand to which no responsive pleading is required.

 To the extent Paragraph 667 contains factual allegations, Defendants deny the same.

         WHEREFORE, Defendants respectfully request that Plaintiff’s Complaint be dismissed

 and for their costs and for such other relief as the Court deems just and appropriate.

                                   AFFIRMATIVE DEFENSES

                                         FIRST DEFENSE

         Plaintiff has failed to state a claim upon which relief may be granted.

                                        SECOND DEFENSE



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        Plaintiff’s claims are barred by the statute of limitations.

                                         THIRD DEFENSE

        Defendants are entitled to absolute and/or qualified immunity.

                                        FOURTH DEFENSE

        Plaintiff has failed to exhaust administrative remedies.

                                         FIFTH DEFENSE

        Plaintiff’s claims are barred by waiver and/or estoppel.

                                         SIXTH DEFENSE

        Plaintiff has failed to mitigate damages.


 DATED at Portland, Maine, this 4th day of March, 2015.


                                                       /s/Reade E. Wilson
                                                       Edward R. Benjamin, Jr.
                                                       Reade E. Wilson
                                                       Attorneys for Town of Gouldsboro, Town of
                                                       Ellsworth, John DeLeo, and Chad Wilmot




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2015, I electronically filed Defendants Town of

 Gouldsboro, Town of Ellsworth, Officer John DeLeo and Officer Chad Wilmot’s Answer to

 Amended Complaint with the Clerk of the Court using the CM/ECF system.



                                                    /s/ Reade E. Wilson., Esq.
                                                    Reade E. Wilson




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